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                                                                               United States Bankruptcy Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
                   IN THE UNITED STATES BANKRUPTCY COURT                              April 04, 2022
                     FOR THE SOUTHERN DISTRICT OF TEXAS                            Nathan Ochsner, Clerk
                              HOUSTON DIVISION

IN RE:                                        §
                                              §       CASE NO: 22-326
ARS ACCOUNT RESOLUTION                        §


                 ORDER CLOSING MISCELLANEOUS PROCEEDING

        The statement filed at ECF No. 3 moots this miscellaneous proceeding. The proceeding
is closed.


         SIGNED 04/04/2022


                                                  ___________________________________
                                                                Marvin Isgur
                                                       United States Bankruptcy Judge




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                       Case 22-00326 Document 5 Filed in TXSB on 04/06/22 Page 2 of 2
                                                              United States Bankruptcy Court
                                                                Southern District of Texas
In re:                                                                                                               Case No. 22-00326-mi
ARS ACCOUNT RESOLUTION                                                                                               Chapter
       Debtor
                                                    CERTIFICATE OF NOTICE
District/off: 0541-4                                                 User: ADIuser                                                        Page 1 of 1
Date Rcvd: Apr 04, 2022                                              Form ID: pdf002                                                     Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 06, 2022:
Recip ID                  Recipient Name and Address
inre                      ARS ACCOUNT RESOLUTION, 1643 NW 136TH AVE STE 10, SUNRISE, FL 33323-2857

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                      BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                     NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 06, 2022                                           Signature:           /s/Joseph Speetjens




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on April 4, 2022 at the address(es) listed below:
Name                              Email Address
Stephen Wayne Sather
                                  on behalf of In Re: ARS ACCOUNT RESOLUTION ssather@bn-lawyers.com gzeh@bn-lawyers.com


TOTAL: 1
